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AO 442 (Rev 11111) Arrest Warrant



                                                                                  UNITED STATES DISTRICT COURT
                                                                                                                             for the

                                                                                                                      District of Columbia

                               United States of America
                                                                v.                                                             )     Case: 1:23-mJ-0008S
                                                                                                                               )
                                              Joseph Pastucci                                                                  )
                                                                                                                                     Assigned To : Upadhyaya, Moxila A,
                                                                                                                               )     Assign. Date .:4/24/2023
                                                                                                                               )     Description: Complaint WI Arrest Warrant
                                                                                                                               )
                                                         Defendant


                                                                                                               ARREST WARRANT
To:           Any authorized law enforcement officer

               YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
                            _lo.s_e_phlastuc_cc1_·
(name of person to be arrested)                                                                                                                                                                        -l-


who is accused of an offense or violation based on the following document filed with the cOUl1:

o     Indictment                                 0             Superseding Indictment                                  0 Information        0 Superseding Information               N Complaint
o     Probation Violation Petition                                                        0 Supervised Release Violation Petition                       0 Violation Notice          o   Order of the Curt

This offense is briefly described as follows:
18 u_s.c. § III (3)(1) (Assaulting, Resisting. or Impeding Ccr\.'lin Officers)
18 U.S.c. § 1752(3)(1) (Entering and Remaining in a Restricted Building or Grounds)
18 U.S.c. § 1752(:1)(2) (Disorderly :1Ild Disruptive Conduct in a Restricted Building or Grounds)
18 U.S.c. § 1752{a)(4) (Engaging           in Physical Violence         in   OJ   Restricted   Building or Grounds)
40 U.S.c. § SI04(e)(2)(A)    (Entering and Remaining                 on the Floor ofCongrcss)
40 U.S.C. § 5104(c)(2)(C)    (Entering and Remaining                 in Certain Rooms in the Capitol Building)
40 U.S.c. § Sl04(c)(2)(D)    (Disorderly           Conduct in n Capitol Building)
40 U.S.C. § SI04(e}(2)(F) (Act of Physical Violence                  in the Capitol Grounds or Buildings)
40 U.S.c. § SI04(c)(2)(G)(Pamding.   Demonstrating.                  or Picketing in a CapilOJ Building)
                                                                                                                                                                       Digitally signed by Moxila A.
                                                                                                                                   Moxila A. Upadhyaya                 Upadhyaya
                                                                                                                                                                       Date: 2023.04.24 17:08:58 -04'00'
Date: __              0><-.4'-'-'••...
                                 /2 4'-'-'/2"'-'0'-"2""'3 __
                                                                                                                                                         Issuing officer·s signature


City and state:                                                  Washington, D.C.                                                    Moxila A. Upadhyaya,         U.S. Magistrate        Judge
                                                                                                                                                          Printed name and title


                                                                                                                            Return

              This warrant was received on                                                 (date)       4/';). i/It>'J.3           , and the person was arrested on      (date)     4/?U/lOd:>
at (city and state)               -NeoN                        c.WV\\,.(J"\~                     j   ~i\




                                                                                                                                   51\ WIlllQ......... U j;{.i~ted name and title
